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 9                                     UNITED STATES DISTRICT COURT
10                                    NORTHERN DISTRICT OF CALIFORNIA
11                                           SAN JOSE DIVISION
12

13   UNITED STATES OF AMERICA,                       CASE NO. CR 06-00748-002

14            Plaintiff,                             WRIT OF CONTINUING GARNISHMENT
15       v.
                                                     (WAGE GARNISHMENT)
16   DENNIS LEBORGNE
     AKA FRENCHY, DENIS LEBORGNE,
17

18            Defendant,

19
     MY RICAMBI LLC,
20
              Garnishee.
21

22
     TO:      MY RICAMBI LLC
23            Attn: Human Resources
              1499 SW 30th Avenue, Ste 4
24            Boynton Beach, FL 33426
25
              YOU ARE HEREBY COMMANDED TO GARNISH FOR THE BENEFIT OF THE
26
     UNITED STATES OF AMERICA PROPERTY IN YOUR POSSESSION IN WHICH THE
27
     DEFENDANT-JUDGMENT DEBTOR HAS A SUBSTANTIAL NONEXEMPT INTEREST.
28
     Writ of Continuing Garnishment
     Case No: CR 06-00748-002
                                                     1
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 1           The name, last known address and last four digits of the social security number of the person

 2 who is the defendant-judgment debtor (“defendant”) in this action and whose property is subject to this

 3 Writ are as follows:

 4                   Dennis Leborgne aka Frenchy, Denis Leborgne
                     4790 Yardarm Lane
 5                   Boynton Beach, FL 33436
                     Social Security Number (last four digits): XXX-XX-7610
 6

 7           This Writ has been issued at the request of the United States of America to enforce the collection

 8 of a criminal judgment entered in favor of the United States against the defendant for a debt in the

 9 original amount of $30,100.00. There is a balance of approximately $30,942.43.

10           The following are the steps that you must take to comply with this Writ. If you have any

11 questions, you should consult with your attorney.

12           1.      Pursuant to 28 U.S.C. § 3205(c)(2)(F), if you have in your custody, control, or possession

13 any property of the defendant (including nonexempt disposable earnings from his wages, salary,

14 commissions or bonuses) in which the defendant has a substantial nonexempt interest, or if you obtain

15 custody, control, or possession of such property while this Writ is in effect, you must immediately

16 withhold such property from the defendant and retain it in your possession until you receive instructions

17 from the Court which will tell you what to do with the property. With respect to the defendant’s wages,

18 salary, commissions or bonuses; you must withhold twenty-five percent (25%) of such amount(s) after
19 all deductions required by law have been withheld. See 28 U.S.C. § § 3205(a) and 3002(9).

20           2.      Pursuant to 28 U.S.C. § 3205(c)(2)(E), you are required to answer this Writ within 10

21 days after service of this Writ upon you. You must answer the Writ even if you do not have in your

22 custody, control, or possession, any property of the defendant. Pursuant to 28 U.S.C. § 3205(c)(4), your

23 answer must state, under oath, the following information:

24                   a.      Whether or not you have in your custody, control, or possession, any property

25 owned by the defendant in which the defendant has a substantial nonexempt interest, including

26 nonexempt disposable earnings;

27                   b.      a description of such property and the value of such property;

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 1                   c.      a description of any previous garnishments to which such property is subject and

 2 the extent to which any remaining property is not exempt; and

 3                   d.      the amount of the debt you anticipate owing to the defendant in the future and

 4 whether the period for payment will be weekly or another specified period.

 5           For your convenience, a form which addresses the above-requested information is attached and

 6 may be used to answer the Writ.

 7           3.      After you complete the answer under oath, pursuant to 28 U.S.C. § 3205(c)(2)(E) and

 8 (c)(4), within ten (10) days after service of this Writ upon you, you must mail or deliver the original

 9 answer bearing the original signature of the person preparing the answer to the Court at the following

10 address:

11           Robert F. Peckham Federal Building
             & United States Courthouse
12           Attn: Clerk of Court
             280 South 1st Street, Room 2112
13           San Jose, CA 95113
14
             At the same time you mail or deliver the original answer to the Court, you must also mail or
15
     deliver a copy of the original answer to both the defendant and attorney for the United States at the
16
     following respective addresses:
17
             Dennis Leborgne aka Frenchy, Denis Leborgne
18           4790 Yardarm Lane
             Boynton Beach, FL 33436
19
             Vivian F. Wang, Assistant U. S. Attorney
20           United States Attorney’s Office
21           450 Golden Gate Avenue, 9th Floor
             P.O. Box 36055
22           San Francisco, CA 94102
23
             Please note that the attached form answer contains a certificate of service which needs to be
24
     completed by the person mailing the copies of the answer to the defendant and the attorney for the
25
     United States, and which needs to be filed with the Court along with the answer.
26
             IF YOU FAIL TO ANSWER THIS WRIT OR FAIL TO WITHHOLD PROPERTY IN
27
     ACCORDANCE WITH THIS WRIT, THE UNITED STATES MAY PETITION THE COURT
28
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 1 FOR AN ORDER REQUIRING YOU TO APPEAR BEFORE THE COURT TO ANSWER THE

 2 WRIT AND TO WITHHOLD PROPERTY IN ACCORDANCE WITH THE WRIT BEFORE

 3 THE APPEARANCE DATE. IF YOU FAIL TO APPEAR OR DO APPEAR AND FAIL TO

 4 SHOW GOOD CAUSE WHY YOU FAILED TO COMPLY WITH THIS WRIT, THE COURT

 5 WILL ENTER A JUDGMENT AGAINST YOU FOR THE VALUE OF THE DEFENDANT’S

 6 NONEXEMPT INTEREST IN SUCH PROPERTY (INCLUDING NONEXEMPT DISPOSABLE

 7 EARNINGS). THE COURT MAY ALSO AWARD A REASONABLE ATTORNEY’S FEE TO

 8 THE UNITED STATES AND AGAINST YOU IF THE WRIT IS NOT ANSWERED WITHIN

 9 THE TIME SPECIFIED HEREIN AND IF THE UNITED STATES FILES A PETITION

10 REQUIRING YOU TO APPEAR.

11
                                                MARK B. BUSBY,
12                                              Clerk of Court
13                                              United States District Court
                                                for the Northern District of California
14

15
           April 6, 2023
16 Dated: _______________________         By:   __________________________
                                                Deputy Clerk
17

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28
     Writ of Continuing Garnishment
     Case No: CR 06-00748-002
                                                4
